Case 1:23-cv-03032-MKV Document 12-62 Filed 04/11/23 Page 1 of 5




        EXHIBIT 59
        Case 1:23-cv-03032-MKV Document 12-62 Filed 04/11/23 Page 2 of 5




                                               March 22, 2023

Mr. Carey R. Dunne
Former Manhattan Special Assistant District Attorney
The Law Office of Carey R. Dunne, PLLC
114 E. 95th St.
New York, NY 10128

Dear Mr. Dunne:

        New York County District Attorney Alvin Bragg is reportedly about to engage in an
unprecedented abuse of prosecutorial authority: the indictment of a former President of the
United States and current declared candidate for that office. This indictment comes after years of
the District Attorney’s office aggressively pursuing charges, with you and other special
prosecutors leading the investigation into every facet of President Trump’s finances.1 Last year,
you resigned from the office over Bragg’s initial reluctance to move forward with charges in
2022, Bragg is now attempting to “shoehorn[]” the same case with identical facts into a new
prosecution.2 Based on your unique role in this matter, we request your cooperation with our
oversight of this politically motivated prosecutorial decision.

        The New York County District Attorney’s Office has been investigating President Trump
since at least 2018, looking for some legal theory on which to bring charges.3 The facts
surrounding the impending indictment have “been known for years.”4 Michael Cohen, President
Trump’s disgraced former lawyer, pleaded guilty over four years ago to charges based on the
same facts at issue in the impending indictment.5 By July 2019, however, federal prosecutors
determined that no additional people would be charged alongside Cohen.6

1
  Ben Protess et al., How the Manhattan DA’s investigation into President Donald Trump unraveled, N.Y. TIMES
(March 5, 2022); Shayna Jacobs et al., Prosecutors in Trump probe quit after new DA seems to abandon plan to seek
indictment of former president, WASH. POST (Feb. 24, 2022).
2
  Jonathan Turley, Get ready for Manhattan DA’s made-for-TV Trump prosecution: high on ratings, but short on the
law, THE HILL (Mar. 18, 2023); Mark Berman et al., The prosecutor, the ex-president and the ‘zombie’ case that
came back to life, WASH. POST (Mar. 17, 2023).
3
  Andrew Feinberg, New York prosecutors warn Trump of possible indictment, report says, THE INDEPENDENT (Mar.
10, 2023).
4
  Berman et al., supra note 2.
5
  Shawna Chen, Timeline: The probe into Trump’s alleged hush money payments to Stormy Daniels, AXIOS (Mar.
18, 2023).
6
  Id.; see Berman et al., supra note 2.
        Case 1:23-cv-03032-MKV Document 12-62 Filed 04/11/23 Page 3 of 5

Mr. Carey R. Dunne
March 22, 2023
Page 2

        In January 2022, soon after Bragg took office, he expressed doubts about President
Trump’s case and suspended the investigation.7 This decision caused you and your colleague,
Mark Pomerantz, to resign in protest.8 Your unrelenting pursuit of President Trump has followed
you into the private sector. Following your resignation from Bragg’s office, you and Pomerantz
started a law firm dedicated to “weighing ways” to bar President Trump from holding future
office.9 Just this month, Pomerantz published a book excoriating Bragg for not aggressively
prosecuting President Trump.10 The Washington Post reported that Bragg was “deeply stung” by
criticism from you and Pomerantz.11

        It now appears that your efforts to shame Bragg have worked as he is reportedly
resurrecting a so-called “zombie” case against President Trump using a tenuous and untested
legal theory. 12 Even the Washington Post quoted “legal experts” as calling Bragg’s actions
“unusual” because “prosecutors have repeatedly examined the long-established details but
decided not to pursue charges.”13 In addition, Bragg’s star witness—Michael Cohen—has a
serious credibility problem as a convicted perjurer and serial fabricator with demonstrable
prejudice against President Trump.14 Under these circumstances, there is no scenario in which
Cohen could fairly be considered an unbiased and credible witness.

        The inference from the totality of these facts is that Bragg’s impending indictment is
motivated by political calculations. The facts of this matter have not changed since 2018 and no
new witnesses have emerged.15 The Justice Department examined the facts in 2019 and opted not
to pursue further prosecutions at that time. Even still, according to reporting, the investigation
“gained some momentum this year,” and Bragg’s office “convened a new grand jury in January
to evaluate the issue.”16 The only intervening factor, it appears, was President Trump’s
announcement that he would be a candidate for President in 2024.17

        Your actions, both as a special prosecutor and since leaving the District Attorney’s office,
cast serious doubt on administration of fair and impartial justice in this matter. In light of this
unprecedented and overzealous investigation, Congress has a keen interest in understanding the
relevant facts to inform potential legislation to improve the functioning and fairness of our
criminal justice system and to better delineate prosecutorial authority between federal and local

7
  Shayna Jacobs et al., Prosecutor who resigned over stalled Trump probe says ex-president committed felonies,
WASH. POST (Mar. 23, 2022).
8
  Id.
9
  Shayna Jacobs, Lawyers who investigated Trump form group to oppose anti-democratic policies, WASH. POST
(Jan. 11, 2023).
10
   MARK POMERANTZ, PEOPLE VS. DONALD TRUMP: AN INSIDE ACCOUNT (2023).
11
   Berman et al., supra note 2.
12
   Turley, supra note 5.
13
   Berman et al., supra note 2.
14
   Christopher Lopez, Progressive DA Alvin Bragg’s case against Trump hinges on witnesses with ‘credibility
problems’: Andy McCarthy, FOX NEWS (Mar. 19, 2023); Marisa Schultz, Jim Jordan, Mark Meadows ask Justice
Department to probe Cohen for perjury, N.Y. POST (Feb. 28, 2019); Michael Cohen pleads guilty to lying to
Congress, ASSOC. PRESS (Nov. 29, 2018).
15
   Id.
16
   Id.
17
   Max Greenwood, Trump announces 2024 run for president, THE HILL (Nov. 15, 2022).
           Case 1:23-cv-03032-MKV Document 12-62 Filed 04/11/23 Page 4 of 5

Mr. Carey R. Dunne
March 22, 2023
Page 3

officials. In addition, because the circumstances of this matter stem, in part, from Special
Counsel Mueller’s investigation,18 Congress may consider legislative reforms to the authorities
of special counsels and their relationships with other prosecuting entities. Accordingly, to
advance our oversight, please produce the following documents and information in your personal
possession for the period January 1, 2017, to the present:

       1. All documents and communications between or among the New York County District
          Attorney’s Office and the U.S. Department of Justice, its component entities, or other
          federal law enforcement agencies referring or relating to New York County District
          Attorney’s investigation of President Donald Trump;

       2. All documents and communications between or among you and the New York County
          District Attorney’s Office referring or relating to President Donald Trump; and

       3. All documents and communications between or among you and representatives of the
          New York County District Attorney’s Office referring or relating to your appointment
          and role as a Special Assistant District Attorney for New York County.

        In addition, your testimony is necessary to advance our oversight and to inform potential
legislative reforms. We therefore ask that you testify in a transcribed interview about these
matters as soon as possible. Please provide this information and contact Committee staff to
schedule your transcribed interview as soon as possible but not later than 10:00 a.m. on March
27, 2023.

        Further, this letter serves as a formal request to preserve all existing and future records
and materials relating to the topics addressed in this letter. You should construe this preservation
notice as an instruction to take all reasonable steps to prevent the destruction or alteration,
whether intentionally or negligently, of all documents, communications, and other information,
including electronic information and metadata, that are or may be responsive to this
congressional inquiry. This instruction includes all electronic messages sent using your official
and personal accounts or devices, including records created using text messages, phone-based
message applications, or encryption software.

       The Committee on the Judiciary has jurisdiction over criminal justice matters in the
United States and matters involving threats to civil liberties pursuant to Rule X of the Rules of
the House of Representatives.19 If you have any questions about this request, please contact
Committee staff at (202) 225-6906. Thank you for your prompt attention to this matter.

                                             Sincerely,


                                             Jim Jordan
                                             Chairman
18
     Ben Protess et al., How Michael Cohen turned against President Trump, N.Y. TIMES (Apr. 21, 2019).
19
     Rules of the U.S. House of Representatives, R. X (2023).
      Case 1:23-cv-03032-MKV Document 12-62 Filed 04/11/23 Page 5 of 5

Mr. Carey R. Dunne
March 22, 2023
Page 4

cc:   The Honorable Jerrold Nadler, Ranking Member
